                   UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                          3:19-cv-00135-MR

MATTHEW JAMES GRIFFIN,      )
                            )
          Plaintiff,        )
                            )
vs.                         )
                            )                    ORDER
                            )
ERIK A. HOOKS, et al.,      )
                            )
          Defendants.       )
___________________________ )

      THIS MATTER is before the Court on review of this docket in this

matter.

      On September 7, 2021, the Court noted that Defendant Bentley, who

was served with summons and complaint on June 24, 2021, had not yet

answered or otherwise responded to Plaintiff’s Second Amended Complaint.

[Doc. 137 at n.1]. The Court, therefore, order Plaintiff to take further action

to prosecute this action against Defendant Bentley. [Id. at 9]. The Court

advised Plaintiff that his failure to take such action would result in the

dismissal of Defendant Bentley without prejudice. [Id.].

      More than 14 days have passed, and Plaintiff has not taken any further

action to prosecute this case against Defendant Bentley. The Court will,

therefore, dismiss Defendant Bentley without prejudice.


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                                 ORDER

     IT IS, THEREFORE, ORDERED that Defendant Bentley is hereby

DISMISSED without prejudice as a Defendant in this matter.

     IT IS SO ORDERED.
                                  Signed: October 26, 2021




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